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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION


 JOANNE BARROWS, SUSAN HAGOOD,
 SHARON MERKLEY, LORRAINE KOHL, and
 DOLLY BALANI, individually and on behalf of
 all other similarly situated,                  Case No. 3:23-cv-00654-RGJ

              Plaintiffs,

      vs.

 HUMANA, INC.,

              Defendant.




                    PLAINTIFFS’ MEMORANDUM OF LAW
             IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS




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    I.      INTRODUCTION

         This putative class action arises from Humana’s unlawful and undisclosed use of artificial

 intelligence to wrongfully make coverage determinations for elderly patients’ post-acute care

 without sufficient individualized review by doctors. Humana uses an AI Model known as nH

 Predict to make claims determinations and override real treating physicians’ determinations as to

 medically necessary care patients require. Humana knows that nH Predict’s results are highly

 inaccurate and are not based on patients’ individual medical needs but continues to use nH Predict

 to make coverage determinations to the detriment of its insureds. Plaintiffs and Class members are

 enrollees of Humana’s Medicare Advantage plans who have had post-acute care coverage

 determinations processed, and ultimately denied, by Humana via nH Predict. Plaintiffs, on behalf

 of themselves and the Class, assert claims for breach of contract, breach of the implied covenant

 of good faith and fair dealing, unjust enrichment, unfair claims settlement practices, unfair

 methods of competition, insurance bad faith, unfair and deceptive insurance practices, and

 common law fraud.

         Now, Humana brings their Motion to Dismiss (“MTD”) arguing that Plaintiffs’ claims

 should be dismissed because: (1) this Court lacks jurisdiction because Plaintiffs were required to

 exhaust administrative remedies and failed to do so; and (2) that Plaintiffs’ claims are preempted

 by the Medicare Act. MTD at 2. Both arguments fail.

         This Court has jurisdiction because Plaintiffs’ claims do not “arise under” the Medicare

 Act. Even if this Court finds Plaintiffs’ claims do arise under the Medicare Act and exhaustion

 applies, only the presentment requirement is a true jurisdictional inquiry, which Plaintiffs have

 clearly satisfied here. Further, the circumstances here warrant judicial waiver of the exhaustion

 prong because (1) Plaintiffs’ claims are wholly collateral to claims for benefits; (2) Humana’s



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 conduct puts Plaintiffs at risk of irreparable harm if they were required to exhaust administrative

 remedies; and (3) exhaustion would be futile because Humana abuses the appeals process and the

 Secretary lacks the authority to grant the relief sought by Plaintiffs via administrative appeal.

          Additionally, Plaintiffs’ common-law claims are not preempted because the Medicare

 Act’s express preemption provision is inapplicable to state common law and Plaintiffs’ statutory

 claims are not preempted because those claims do not “arise under” the Medicare Act.

          For these reasons, Humana’s Motion to Dismiss should be denied in its entirety.

    II.      BACKGROUND

          Humana covertly uses nH Predict, an artificial intelligence algorithm developed by a

 contractor called naviHealth, in its Medicare Advantage plans to make coverage determinations

 for elderly patients’ post-acute care claims. First Am. Compl. (“FAC”) ¶¶ 1 ,7. Despite a 90% error

 rate and a factual finding by the Senate that 80% of prior authorization claims alone are reversed

 on appeal, Humana continues to systemically use this flawed AI algorithm to make coverage

 determinations because they know only a tiny minority of policyholders (roughly 0.2%) will

 appeal denied claims. FAC ¶¶ 41, XX. The vast majority of policyholders will either pay out-of-

 pocket costs or forgo the remainder of their medically necessary post-acute care—a grand savings

 for Humana. FAC ¶¶ 4, 9. Humana banks on patients’ impaired physical and mental conditions,

 lack of knowledge, and lack of resources to appeal the wrongful AI-driven coverage

 determinations. FAC ¶ 3.

          This scheme affords Humana a clear financial windfall in the form of policy premiums and

 savings on review staff, all while also saving on care they would have otherwise been required to

 cover but-for these sham algorithmic coverage determinations. FAC ¶ 4, 9. Humana’s practice

 leaves patients without means to have their claims determined based on their medical necessity,



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 instead resulting in elderly patients being prematurely kicked out of care facilities nationwide,

 forced to deplete their life savings to continue receiving necessary medical care, or being forced

 to forgo care altogether risking serious injury or death—all because the nH Predict algorithm

 “disagrees” with their real live doctors’ determinations. Id.

            A.     NH PREDICT IS UNREGULATED, UNDISCLOSED, AND
                   UNLAWFULLY USED BY HUMANA TO UNJUSTLY INCREASE
                   PROFITS AT THE EXPENSE OF VULNERABLE ELDERLY
                   PATIENTS

        Using nH Predict, Humana purports to predict how much care a patient “should” require

 by comparing demographic and surface-level data points with a database of other patients. FAC

 ¶¶ 7, 34. nH Predict takes this data and issues a discharge date based on the amount of time it took

 other patients to recover, without considering patients’ individualized circumstances or doctor’s

 recommendations. Id. Humana uses nH Predict to terminate coverage of patients’ claims as soon

 as possible. FAC ¶¶ 6–7. Humana and the naviHealth contractor it employs intentionally limit

 employees’ discretion to deviate from the nH Predict predicted discharge dates by setting targets

 to keep lengths of stay within 1% of the days projected by nH Predict. FAC ¶¶ 8, 37. Employees

 who deviate from the nH Predict prediction are disciplined or terminated, regardless of whether a

 patient requires more care. Id. This “length-of-stay” budget factors into Humana’s employees’

 bonus determinations—if employees come in under budget by ensuring patients receive less care,

 they receive higher bonuses. FAC ¶ 44. Humana’s delegation of coverage determinations to nH

 Predict is contrary to the requirements of state laws Humana is required to abide by, beyond the

 reach of the Secretary to remedy, and otherwise unregulated. FAC ¶¶ 33, 42.

        Humana’s use of nH Predict is undisclosed, and is even actively concealed, from patients.

 FAC ¶ 39. When patients or their doctors request to see the bases for the denials, Humana or their

 agents deny their requests and tell them the information is proprietary. FAC ¶ 39. Humana actively


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 deceives its insureds by stating in its written policies that it does not provide financial incentives

 to employees for denying coverage, and that in the event of a denial, an accurate written statement

 will be provided explaining the basis for the denial. FAC ¶¶ 139, 144. When Humana issues denials

 based on nH Predict, they do not explain that the basis for the denial was nH Predict’s

 determination—instead, they fabricate pretextual reasons, often claiming that the care was not

 medically necessary. These medical necessity determinations are being made by a flawed

 algorithm, not by actual doctors. FAC ¶¶ 7, 33.

            B.     EXHAUSTION/PLAINTIFFS

        When Humana decides to end coverage before doctors’ recommended discharge date,

 patients are left with an impossible choice—to either forgo medically necessary care despite not

 being well enough to function without it, or to pay out-of-pocket to continue receiving care that

 they were wrongfully denied—if they can afford it. FAC ¶ 31. Humana also uses nH Predict to

 review and deny some claims before treatment has even begun, by issuing prior authorization

 denials. FAC ¶ 32. Because of Humana’s use of nH Predict to make coverage determinations,

 patients rarely receive post-acute care for more than 14 of the 100 days they are eligible for before

 they start receiving denials. FAC ¶ 38.

        Upon receiving denials, patients have the option to appeal the denials. The appeals process

 provides for four levels of administrative review: (1) an appeal before an independent third-party

 reviewer called a Quality Improvement Organization (“QIO”); (2) a reconsideration by the QIO;

 (3) a hearing before an administrative law judge; and (4) review by the Medicare Appeals Council.

 FAC ¶¶ 40, XX. These administrative reviewers have the limited authority to overturn denials and

 reinstate benefits in individual cases. FAC ¶ 40.

        However, Humana’s abuse of the appeals system coupled with the limited authority of

 administrative reviewers make exhaustion of administrative appeals futile. FAC ¶¶ 40–43. If

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 Plaintiffs’ denials are reversed on appeal, Humana immediately issues another denial despite

 having no factual basis for doing so, forcing patients to restart the appeals process from the

 beginning. FAC ¶ 43. For example, Plaintiff Sharon Merkley received seven denials for the same

 care within 30 days, each after a successful appeal and without a factual basis for doing so. FAC

 ¶¶ 78–86. After a subsequent hospital stay a month later, Humana issued five more denials for

 post-acute care—also after successful appeals, and also without factual bases. FAC ¶¶ 90–94.

         Further, in the rare case a patient’s appeal makes it to the third level before an ALJ, Humana

 frequently pays the claim or defaults at the hearing. FAC ¶ 46. Thus, patients are unable to exhaust

 administrative remedies, rendering any benefits challenges unreviewable in court—while only

 requiring Humana to pay the tiny fraction of claims that make it to the ALJ to receive such strong

 protection. FAC ¶¶ 46–47.

         Even if Humana did not stand in the way of exhaustion administrative remedies, exhaustion

 often takes years. FAC ¶ 45. While waiting for a decision on appeal, patients are left with two

 options: (1) stay in the post-acute care facility and risk being responsible for months or years of

 medical bills if their appeals are denied; or (2) forgo care while they await a decision. Id. Plaintiffs

 are elderly and/or ill patients who have suffered serious medical traumas—if they opt to forgo care

 while awaiting a decision on appeal, they risk further serious injury. Id.

         For example, when Humana terminated Plaintiff JoAnne Barrows’ coverage, she was

 bedridden and using a catheter. FAC ¶ 56. Because Mrs. Barrows could not afford the facility her

 doctor recommended, she was transferred to a more affordable facility where she received

 substandard care, jeopardizing her health. FAC ¶¶ 58–59. Fearing for her health and safety, Mrs.

 Barrows opted to return home despite not being unable to use her leg, use the restroom without

 assistance, and while she still used a catheter. FAC ¶ 60. When Humana refused to pay for Plaintiff



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 Susan Hagood’s care she had just been readmitted to the hospital for her serious and worsening

 condition, including a multi-level disc edema with discitis osteomyelitis, consolidative phlegmon

 within her epidural spaces, a large staghorn calculus in each kidney, and pneumonia. FAC ¶ 68.

 Humana terminated Plaintiff Lorraine Kohl’s rehab care just three weeks after she fractured her

 hip, claiming that she needed “little” help to move around, when she was completely unable to

 walk. FAC ¶ 98. Humana denied prior authorization for Plaintiff Dolly Balani’s post-acute care,

 despite her recently fractured hip and her doctor deeming her at risk of falling. FAC ¶¶ 110–11.

    III.      ARGUMENT

              A.     PLAINTIFFS    ARE NOT     REQUIRED   TO   EXHAUST
                     ADMINISTRATIVE REMEDIES, AND THIS COURT THEREFORE
                     HAS JURISDICTION

           Section 405(h) of the Social Security Act precludes judicial review in any action

 challenging the denial of claimed benefits, except as provided for by Section 405(g). See 42 U.S.C.

 § 405(h); Mathews v. Eldridge, 424 U.S. 319, 327 (1976); Weinberger v. Salfi, 422 U.S. 749, 757–

 58 (1975).

           Conversely, actions that do not challenge the denial of benefits (and thus do not “arise

 under” the Medicare Act) are not restricted by Sections 405(h) and 405(g) and may be freely

 reviewed by this Court. See Salfi, 422 U.S. at 760–61 (construing 405(g) only to require exhaustion

 for claims of entitlement to benefits); Heckler v. Ringer, 466 U.S. 602, 605, 614–15 (1984)

 (applying Section 405(g) only to claims “arising under the Medicare Act”).

           Humana argues this Court lacks jurisdiction over Plaintiffs’ claims, asserting that

 Plaintiffs’ claims arise under the Medicare Act, which requires them to exhaust administrative

 remedies. MTD at 12. Humana is wrong and overstates the jurisdictional nature of the exhaustion

 analysis. Even if this Court finds Plaintiffs’ claims arise under the Medicare Act and exhaustion

 applies, only the presentment requirement is a true “jurisdictional” inquiry, and Plaintiffs have

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 clearly satisfied that threshold inquiry by alleging sufficient presentment of their claims. See infra

 Section I.B.1; see also Eldridge, 424 U.S. at 328; A1 Diabetes & Med. Supply v. Azar, 937 F.3d

 613, 617 (6th Cir. 2019) (recognizing Eldridge as holding “that § 405(g)’s exhaustion requirement

 is not a jurisdictional prerequisite for review in federal court.”); Accident, Inj. & Rehab., PC v.

 Azar, 943 F.3d 195, 200 (4th Cir. 2019) (stating that in Eldridge, “the Supreme Court specifically

 held that the § 405(g) exhaustion requirement is not jurisdictional because its mandate can be

 waived, whereas a defect in the subject-matter jurisdiction of a court cannot be waived”).

        This Court has jurisdiction over Plaintiffs’ claims because (A) Plaintiffs’ claims do not

 arise under the Medicare Act, and thus are not subject to the exhaustion requirement; and (B) even

 if Plaintiffs’ claims are subject to the exhaustion requirement, Plaintiffs have adequately presented

 their claims and the circumstances warrant judicial waiver of the exhaustion prong.

                    1. Exhaustion is Not Required Because Plaintiffs’ Claims Do Not Arise
                       Under the Medicare Act

        A claim “arises under” the Medicare Act when (1) the “standing and substantive basis for

 the presentation of the claims” is the Medicare Act; or (2) it is “inextricably intertwined” with a

 Medicare benefits determination. Salfi, 422 U.S. at 760–61. Humana makes no arguments that the

 “standing and substantive basis” for Plaintiffs’ claims is the Medicare Act, and instead only argues

 that Plaintiffs’ claims are “inextricably intertwined” with a claim for benefits. MTD at 13–14.

        To determine whether a claim is “inextricably intertwined” with a Medicare benefits

 determination, courts examine whether the claim is, “at bottom,” a claim for benefits. See Ringer,

 466 U.S. at 614. To reiterate, Plaintiffs do not seek benefits—they instead only challenge




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 Humana’s use of the nH Predict AI Model to make coverage determinations. 1

        Humana mistakenly argues that Plaintiffs’ claims are “inextricably intertwined” with a

 claim for benefits, partly because they misunderstand Plaintiffs’ claims as challenging “the denial

 of benefits.” MTD at 14–15 (citing Harwood and Hepstall, in which the courts found the plaintiffs

 challenged the denial of Medicare benefits or sought Medicare benefits as a remedy). Humana,

 and the cases it cites, rely chiefly upon Ringer.

        The Supreme Court found the claims at issue in Ringer were “inextricably intertwined”

 with claims for benefits because plaintiffs sought an injunction compelling the Secretary to declare

 a certain procedure reimbursable under the Medicare Act, such that “only essentially ministerial

 details will remain before [plaintiffs] would receive reimbursement.” 466 U.S. at 615–16. Unlike

 here, the claims in Ringer were claims for benefits merely disguised as a procedural challenge. See

 id.

        Humana also argues that “[e]ven claims challenging the process by which a Medicare

 coverage determination is made are inextricably intertwined with claims for Medicare Benefits.”

 MTD at 15. However, the cases cited by Humana involve, like Ringer, claims for benefits

 disguised as procedural challenges—not true procedural challenges like those brought by Plaintiffs

 here. See Ex Parte Blue Cross & Blue Shield of Ala., 90 So.3d 158, 164 (Ala. 2012) (“Although

 framed as a contractual dispute . . . [plaintiff’s] claim is, ‘at bottom,’ a claim that [plaintiffs] are



 1
   FAC ¶ 2 (“By this action, Plaintiffs challenge the process employed by Humana to make claim
 determinations—i.e., its use of the nH Predict AI Model—and not the denial of any individual
 claim.”); see, e.g., FAC ¶ 145 (“By using the nH Predict AI Model to resolve Plaintiffs’ and
 Class members’ claims without an adequate individualized investigation, Humana breached the
 insurance agreement”); FAC ¶ 150 (“Humana has breached its duty of good faith and fair dealing
 by . . . Improperly delegating its claims review function to the nH Predict AI Model system”);
 see also FAC ¶ 157 (Unjust Enrichment); FAC ¶ 166 (Unfair Claims Settlement Practices); FAC
 ¶ 177 (Unfair Methods of Competition); FAC ¶ 187 (Insurance Bad Faith); FAC ¶ 209 (Unfair
 and Deceptive Insurance Practices); FAC ¶ 212 (Common Law Fraud).

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 being denied coverage and/or benefits to which they are entitled”); DiCrescenzo v. UnitedHealth

 Group, Inc., 2015 U.S. Dist. LEXIS 123852, at *9 (D. Haw. Sept. 16, 2015) (finding plaintiff’s

 claims “inextricably intertwined” with a claim for benefits because it “inevitably turn[ed] upon a

 determination that [plaintiff] was entitled to a Medicare benefit”); Moses v. United Healthcare

 Corp., 2020 U.S. Dist. LEXIS 74260, at *8 (D. Ariz. Apr. 28, 2020) (holding plaintiff’s claims

 arose under the Medicare Act because they “directly concern[ed] the denial of Medicare benefits”);

 Zhang v. UnitedHealthcare, 2021 U.S. Dist. LEXIS 143138, at *3 (D. Ariz. July 30, 2021) (finding

 plaintiff’s claims for consequential damages arose under the Medicare Act because he sought “pain

 and suffering” damages caused by the denied benefits, which the court found was “inextricably

 intertwined” with his claim for benefits).

        Here Plaintiffs’ claims are not based on the denials of benefits, disguised or otherwise, but

 instead the use of nH Predict to make coverage determinations (regardless of the outcome) without

 sufficient individualized review of the merits of their claims. See supra note 1. Thus, Plaintiffs’

 claims are distinguishable from the claims in Ringer (and the cases that relied on Ringer), because

 Plaintiffs’ claims are not, “at bottom,” claims for benefits.

        Therefore, Plaintiffs’ claims do not arise under the Medicare Act, and they were not

 required to exhaust administrative remedies before seeking relief in federal court.

                    2. Even if it Applied, Plaintiffs Satisfy the Exhaustion Requirement
                       Because They Meet the Requirements for Judicial Waiver of the
                       Exhaustion Prong and Have Presented Their Claims.

        Section 405(g) allows for judicial review when two requirements are met: (1) the plaintiff

 must present the claim for benefits to the Secretary; and (2) the administrative remedies prescribed

 by the Secretary must be exhausted or waived. See 42 U.S.C. § 405(g); Eldridge, 424 U.S. at 328.

 To the extent that the “presentment” requirement remains a nonwaivable jurisdictional inquiry,

 Plaintiffs have satisfied it here. See Ringer, 466 U.S. at 617; Eldridge, 424 U.S. at 328. The second

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 requirement is waivable and not a bar to jurisdiction. See A1 Diabetes & Med. Supply v. Azar, 937

 F.3d 613, 617 (6th Cir. 2019) (recognizing Eldridge as holding “that § 405(g)’s exhaustion

 requirement is not a jurisdictional prerequisite for review in federal court.”).

                          a) Plaintiffs Have Satisfied the Presentment Requirement

           The presentment requirement to exhaustion is satisfied by presenting “an application for

 benefits; or, in the case of someone who had been receiving benefits and was terminated, it requires

 notification to the agency that the claimant still asserts disability.” Mental Health Ass’n v. Heckler,

 720 F.2d 965, 969 (8th Cir. 1983) (citing Eldridge, 424 U.S. at 329); Ringer, 466 U.S. at 617

 (finding requirement satisfied when claims were submitted for reimbursement); A1 Diabetes, 937

 F.3d at 617 (finding claims presented when first and second level appeals were processed); Global

 Rescue Jets, LLC v. Kaiser Found. Health Plan, Inc., 30 F.4th 905, 915 (9th Cir. 2022) (finding

 presentment satisfied when the claims were submitted to the MAO in the first instance).

           Humana mistakenly conflates the presentment and exhaustion prongs, arguing that this

 Court lacks jurisdiction because Plaintiffs did not receive final determinations from the fourth-

 level appeal before the Medicare Appeals Council. MTD at 18–19. However, presentment never

 requires complete exhaustion—it is a threshold inquiry that requires only that the claim be

 presented to the Secretary in the first instance, by submitting a claim for payment or a first-level

 appeal. See Ringer, 466 U.S. at 617; A1 Diabetes, 937 F.3d at 617; Global Rescue Jets, 30 F.4th

 at 915.

           Plaintiff Dolly Balani was issued a prior authorization denial for inpatient rehab care. FAC

 ¶ 111. By seeking a determination from Humana in the first instance, she presented her claims.

 See Global Rescue Jets, 30 F.4th at 915.

           Many Plaintiffs had benefits prematurely terminated by Humana. Plaintiff JoAnne Barrows

 presented her claims by appealing the denial—her appeal was denied. FAC ¶ 56. Plaintiff Sharon

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 Merkley was denied coverage seven times in thirty days and appealed every denial. FAC ¶¶ 79–

 86. Mrs. Merkley was admitted to another SNF a month later after a subsequent hospitalization.

 FAC ¶ 89. Humana denied coverage for her second stay another five times, and Mrs. Merkley

 appealed each denial. FAC ¶¶ 89–94. Plaintiff Lorraine Kohl appealed her multiple denials both

 to the independent reviewer and to Humana directly. FAC ¶¶ 99–106. Mrs. Balani also had skilled

 nursing benefits prematurely terminated by Humana—she has pursued that appeal to the Medicare

 Appeals Council but has not yet received a hearing. FAC ¶¶ 114–19.

        Humana denied Plaintiff Susan Hagood’s coverage for skilled nursing care after she had

 received treatment, leaving her with the bill—Mrs. Hagood adequately presented this claim by

 submitting her application for benefits in the first instance. FAC ¶ 69.

        Thus, Plaintiffs have all satisfied the presentment requirement.

                        b) Plaintiffs Satisfy the Requirements for Judicial Waiver of the
                           Exhaustion Prong

        The exhaustion prong may be waived either by the Secretary or by a court. Eldridge, 424

 U.S. at 330; Bowen v. City of New York, 476 U.S. 467, 484 (1986). The Supreme Court established

 judicial waiver in Eldridge, noting that “cases may arise where a claimant’s interest in having a

 particular issue resolved promptly is so great that deference to the agency’s judgment is

 inappropriate.” Eldridge, 424 U.S. at 330; Bowen, 476 U.S. at 483. Particularly where the policy

 giving rise to the claims is a policy that claimants did not know existed, such as Humana’s use of

 nH Predict to make claims determinations, exhaustion should not be required because “it would

 be unfair to penalize these claimants for not exhausting under these circumstances.” Bowen, 476

 U.S. at 483.

        Judicial waiver is appropriate where (1) the claim is entirely collateral to claims for

 benefits; (2) irreparable harm would result from exhaustion; and (3) that exhaustion would


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 otherwise be futile. See Bowen, 476 U.S. at 483; Eldridge, 424 U.S. at 330–31; Day v. Shalala, 23

 F.3d 1052, 1059 (6th Cir. 1994). Examining the prongs of this test, Plaintiffs have clearly satisfied

 its application here.

                                i.   Plaintiffs’ Claims are Collateral to Any Claim for Medicare
                                     Benefits

         Plaintiffs’ claims here are “wholly collateral” to a claim for benefits. In Day, the Sixth

 Circuit found that the plaintiffs’ claims were wholly collateral to their claims for benefits because

 if the plaintiffs were to succeed, they “would not automatically be entitled to receive benefits if

 they prevail, but only to receive ‘the procedure they should have been accorded in the first place.’”

 23 F.3d at 1059 (citing Bowen, 476 U.S. at 484). The Day court went on to recognize that several

 other circuits have reached the same conclusion—challenges to procedure are wholly collateral to

 claims for benefits. Id. (citing Schoolcraft v. Sullivan, 971 F.2d 81, 86 (8th Cir. 1992); Marcus v.

 Sullivan, 926 F.2d 604, 614 (7th Cir. 1991); State of New York v. Sullivan, 906 F.2d 910, 918 (2d

 Cir. 1990); Hyatt v. Heckler, 807 F.2d 376, 379–80 (4th Cir. 1986)).

         In Bowen, the Supreme Court held that plaintiffs’ claims were collateral to claims for

 benefits because plaintiffs had challenged the very procedure by which claims were processed,

 rather than seeking benefits. 476 U.S. at 483. The Court stated that whether claimants received the

 “procedure they should have been afforded in the first place” was entirely collateral to the merits

 of their claims for benefits. Id.

         The present case falls squarely within Day and Bowen—Plaintiffs do not seek benefits, but

 instead challenge the procedure by which their claims were processed. Plaintiffs’ claims are

 therefore “wholly collateral” to their substantive claims of entitlement to benefits.

                               ii.   Plaintiffs Would Suffer Irreparable Harm if the
                                     Exhaustion Prong Was Not Waived

         To demonstrate irreparable harm, Plaintiffs must demonstrate that “deferment of judicial

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 review until exhaustion of administrative remedies would cause them injury that cannot be

 remedied by later payment of the benefits requested.” Martin v. Shalala, 63 F.3d 497, 505 (7th

 Cir. 1995). Courts should “be especially sensitive to irreparable injury where the Government

 seeks to require claimants to exhaust administrative remedies merely to enable them to receive the

 rights that they should have been afforded in the first place.” Family Rehab., Inc. v. Azar, 886 F.3d

 496, 504 (5th Cir. 2018) (citing Bowen, 476 U.S. at 484).

        In Bowen, the Court noted that, like in Eldridge, the claimants would be irreparably injured

 if they were required to exhaust administrative remedies, because the “ordeal of having to go

 through the administrative appeal process” could trigger medical setbacks which could not be

 remedied by interim benefits or ultimate success on appeal. 476 U.S. at 484. Here, Plaintiffs

 suffered many such setbacks. For example, Mrs. Merkley was hospitalized again shortly after

 Humana’s final denial because of forgoing care she should have received. FAC ¶¶ 88–89. These

 kinds of irreparable harms cannot be remedied by interim benefits, exhaustion of administrative

 process, or “ultimate success if they manage to pursue their appeals.” Bowen, 476 U.S. at 485.

        In Schoolcraft, the Eighth Circuit found irreparable harm when the claimants produced

 affidavits which “clearly demonstrate[d] the harms caused by administrative exhaustion.” 971 F.2d

 at 86–87. The Schoolcraft court also recognized that the “overwhelming body of case law” states

 that retroactive benefits are not an adequate remedy. Id.; see, e.g., Eldridge, 424 U.S. at 331 (“an

 erroneous termination [of benefits] would damage [claimant] in a way not recompensable through

 retroactive payments”). In Schoolcraft, the court found that “eventual correction” of the “systemic

 errors at the initial and reconsideration stages of the administrative process” would not cure the

 harm the claimants suffered. 971 F.2d at 87.

        In addition to the irreparable harm administrative exhaustion poses to elderly Class



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 members dealing with serious, often chronic injuries, the Eighth Circuit has also held that the high

 reversal rate for their claims denials augers in favor of waiver as a result of “irreparable harm.” In

 Mental Health Association, the Eighth Circuit found that the irreparable harm resulting from

 exhaustion of administrative remedies was exacerbated by a high reversal rate on appeal of 80%.

 720 F.2d at 970. Here, Plaintiffs allege that nH Predict’s error rate is 90% and the United States

 Senate has made a factual finding that 80% of prior authorization requests denied by nH Predict

 are reversed on appeal. FAC ¶¶ 41.

        Thus, Plaintiffs’ allegations sufficiently allege that would suffer irreparable harm if they

 were required to exhaust administrative remedies before seeking relief in federal court.

                             iii.   Pursuit of Further Administrative Proceedings Would be
                                    Futile

        When “any efforts before the agency would be pointless, the courts do not insist that

 litigants go through the motions of exhausting the claim anyway.” Merit Leasing Co., LLC v.

 Becerra, 2023 U.S. Dist. LEXIS 213713, at *19 (N.D. Ohio Dec. 1, 2023) (quoting Herr v. U.S.

 Forest Serv., 803 F.3d 809, 822 (6th Cir. 2015)). In Salfi, the Court explained that the purposes of

 exhaustion are so “[that] the agency may function efficiently and so that it may have an opportunity

 to correct its own errors, to afford the parties and the courts the benefit of its experience and

 expertise, and to compile a record which is adequate for judicial review.” 422 U.S. at 765. The

 decision whether to waive exhaustion should be guided by these policies, not “solely by

 mechanical application of the Eldridge factors.” Bowen, 476 U.S. at 484.

        In Bowen, the Supreme Court found that exhaustion was futile and should be waived

 because the plaintiff’s alleged a “systemwide, unrevealed policy that was inconsistent in critically

 important ways with established regulations.” 476 U.S. at 485. Under these circumstances, the

 Court determined that “there was nothing to be gained from permitting the compilation of a


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 detailed factual record, or from agency expertise,” rendering exhaustion futile. Id.

        Here, exhaustion is futile for three reasons: (1) even if Plaintiffs succeed in any individual

 administrative appeal, Humana subjects them to immediate renewed denials that do not address

 the successful appeal with any new information, causing Plaintiffs to have to re-start the appeals

 process anew; (2) the Secretary lacks the authority to grant the relief necessary to systemically

 address Humana’s improper denials based on the reliance on nH Predict; and (3) Humana abuses

 and undermines the administrative review process such that its conduct is capable of repetition

 while evading judicial review.

                                    (1)   Humana’s Continuous Subsequent Denials Make It
                                          Impossible for Plaintiffs to Prevail on Appeal

        In Salfi, the Court held that pursuing administrative remedies was futile when there was no

 chance that the claimant could prevail on appeal, stating that “further exhaustion would not merely

 be futile for the applicant, but would also be a commitment of administrative resources

 unsupported by and administrative or judicial interest.” 422 U.S. at 765–66.

        Here, it is impossible for Plaintiffs to truly prevail on appeal, because even if they receive

 a favorable determination on appeal, they will be faced with another denial within mere days.

 Humana’s naviHealth reviewers are instructed to issue a new denial immediately following a

 successful appeal, without any change in circumstances to justify the new denial. FAC ¶ 43. By

 doing so, Humana can lock Plaintiffs and Class members into a perpetual loop of administrative

 appeals, until either the patient gives up and decides not to appeal further, fails to submit an appeal

 on time, or the patient dies. FAC ¶¶ 43, 45. Though Plaintiffs may obtain a favorable result in a

 single appeal, he or she is unable to obtain any relief that results in them receiving a meaningful

 amount of further required care, because they will only receive a few days of additional care before

 another denial is issued. FAC ¶ 43.


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                                   (2)   Administrative Reviewers Lacks the Authority to
                                         Grant the Relief Sought by Plaintiffs

        The authority of administrative reviewers is “circumscribed by the appointing agency’s

 enabling statutes and its regulations.” Matthews v. Leavitt, 452 F.3d 145, 152 (2d Cir. 2006). CMS

 has circumscribed the bounds of administrative review authority, in 42 U.S.C. § 1395w-22(g)(5),

 which allows review of challenges to payments of benefits. Id. In Leavitt, the Second Circuit was

 confronted squarely with the question of whether administrative reviewers had the authority to

 review state common law causes of action, and it ruled that they did not because Section 1395w-

 22(g)(5) did not grant them that authority. Id. (holding that an ALJ was “not vested with authority

 to hear an ordinary breach of contract suit for damages independent of his determination of

 entitlement to benefits”).

        Here, Plaintiffs seek nationwide injunctive relief and damages resulting from Humana’s

 illegal conduct, not including damages for denied benefits. This relief is beyond the scope of the

 administrative remedies prescribed by the Secretary, making appeal before him futile. FAC ¶¶ 40,

 42.

                                   (3)   Humana’s Conduct is Capable of Repetition While
                                         Evading Review

        Lastly, if exhaustion were required, Humana’s conduct would be capable of repetition

 while evading review. Humana knows that if patients are required to exhaust administrative

 remedies, they need only pay the relatively small number of claims appealed before they reach the

 highest level of appeal, and its systemic misconduct would never be reviewable in court. FAC ¶

 47. Only 0.2% of people appeal their denials, and far fewer pursue their appeal to the third-level

 appeal before an ALJ. FAC ¶ 47. If an appeal reaches the ALJ, Humana frequently defaults or

 agrees to pay the claims. Id. In this way, Humana can ensure that virtually nobody is able to exhaust

 administrative remedies, making its conduct never reviewable in court unless exhaustion is

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 waived. Id.

        The Eighth Circuit addressed a similar issue in Schoolcraft, stating, “We think the most

 telling and forceful argument plaintiffs make is that unless exhaustion is waived, if the ALJ

 implements the correct procedures and applies the correct standards and, where appropriate,

 awards benefits, there will never be judicial review to challenge the actions the DDS takes at the

 initial and reconsideration stages. Exhaustion would be futile if the challenged policy could never

 be judicially reviewed.” 971 F.2d at 87. Similarly, here, so long as the ALJ continues to reverse

 nH Predict determinations on appeal, Humana’s conduct will not be reviewable in court, as its

 unlawful denials will be overturned before patients are able to exhaust administrative remedies.

 See FAC ¶ 41 (alleging a 90% total appeal reversal rate, and 80% reversal of prior authorization

 claims).

        Thus, it would be futile for Plaintiffs to exhaust their administrative remedies, and this

 Court should waive the exhaustion requirement as to Plaintiffs’ claims, to the extent any are found

 to arise under the Medicare Act.

                    3. Humana is the Proper Defendant for Plaintiffs’ Claims, Not the
                       Secretary

        Humana argues that, even if exhaustion were not required, Plaintiffs’ claims fail because

 the Secretary, not Humana, is the proper party to answer for Humana’s fraudulent and illegal

 conduct. MTD at 19–20.

        Humana relies on two district court cases, Madsen v. Kaiser Found. Health Plan, Inc., 2009

 U.S. Dist. LEXIS 46122 (S.D. Cal. June 2, 2009) and Ebert v. Anthem Health Plans of Ky., Inc.,

 2022 U.S. Dist. LEXIS 29553 (W.D. Ky. Feb. 18, 2022). However, the relevant statute and

 authority state that the Secretary is the proper defendant only for claims seeking review of final

 determinations from the Medicare Appeals Council. See 42 U.S.C. § 405(g); 42 C.F.R. §§


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 405.1136(a)(1), (d)(1); Madsen, 2009 U.S. Dist. LEXIS 46122, at *9 (“In any civil action seeking

 judicial review of a decision of the Medicare Appeals Council, ‘the Secretary of HHS, in his or

 her official capacity, is the proper defendant.’”) (emphasis added).

        As Humana emphasizes, Plaintiffs have not exhausted their administrative remedies and

 have not been issued a final decision by the Medicare Appeals Council. Plaintiffs’ claims do not

 arise under the Medicare Act, or alternatively Plaintiffs’ claims are exempt from the exhaustion

 requirement—either way, Plaintiffs have not received a final determination from the Medicare

 Appeals Council, and thus Plaintiffs are not restricted by § 405.1136(d)(1), making Humana the

 proper party.

            B.     PLAINTIFFS’ STATE LAW CLAIMS ARE NOT PREEMPTED BY THE
                   MEDICARE ACT

                    1. The Text of the Preemption Provision Reaches Only Positive
                       Statutory Enactments and Regulations, Not State Common Law

    Plaintiffs’ state common-law claims can go forward because they do not fall within the scope

 of Medicare preemption. The Medicare Act’s express preemption provision provides:

        The standards established under [Part C] shall supersede any State law or regulation
        (other than State licensing laws or State laws relating to plan solvency) with respect
        to MA plans which are offered by MA organizations under [Part C].

 42 U.S.C. § 1395w-26(b)(3). The plain language of the statute and United States Supreme Court

 precedent both indicate this preemption language does not include state common-law claims.

        In Sprietsma v. Mercury Marine, 537 U.S. 51, 62-63 (2002), the Supreme Court explained

 that the phrase “law or regulation” was “most naturally read as not encompassing common-law

 claims.” Id. at 63 (emphasis added). The Court based its reasoning on the idea that “a word is

 known by the company it keeps.” Id. The terms “‘law’ and ‘regulation’ used together in the pre-

 emption clause indicate that Congress pre-empted only positive enactments.” Id. The Court noted

 that if it read “law” to include the common law, then “law” would also include “regulations,” and

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 would “render the express reference to ‘regulation’ in the preemption clause superfluous.” Id.

        Dictionary definitions are consistent with the Supreme Court’s conclusion in Sprietsma.

 “Law” refers to “the aggregate of legislation, judicial precedents, and accepted legal principles,”

 including “the body of authoritative grounds of judicial and administrative action.” Webster’s

 Third International Dictionary 1279 (2002) (emphasis added); see also Bryan A. Garner, A

 Dictionary of Modern Legal Usage 503 (2d ed.1995) (differentiating between “a law,” which

 refers to “a particular and concrete instance of a legal precept,” with “the law,” which describes

 “something much broader and more general” (emphasis added)). Assigning a meaning to “law” in

 the Medicare Act’s preemption provision that includes the broader and general concept of “the

 law” would sweep in not only common law but also regulations (i.e., authoritative administrative

 action). See Sprietsma, 537 U.S. at 63.

        That interpretation, however, makes the term “regulation” superfluous, and therefore is not

 the proper interpretation that should be applied by this Court. See, e.g., Advocate Health Care

 Network v. Stapleton, 581 U.S. 468, 477 (2017) (rejecting a proposed reading of an ERISA

 provision that would read two words out of the statute because “the presumption [is] that each

 word Congress uses is there for a reason”). See also Antonin Scalia & Bryan A. Garner, Reading

 Law: The Interpretation of Legal Texts 174 (2012) (canons of statutory interpretation require that,

 “[i]f possible, every word . . . is to be given effect” rather than considering words to be mere

 surplusage). The proximity of “law” to “regulation” indicates the term refers only to positive

 legislative enactments, just like the term “regulation” refers to positive administrative rules.

 Sprietsma, 537 U.S. at 63.

        Reading “law” to encompass only positive enactments is consistent with the preemption

 provision’s broader context. Congress knew how to refer to “State law” and thus more broadly



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 include both state common laws and regulations. Indeed, Congress did so repeatedly throughout

 the Medicare Part C statute. See 42 U.S.C. §§ 1395w-21(h)(7)(A), 1395w-22(b)(2), §1395w-

 28(f)(8)(D)(i). Congress could have done the same in 42 U.S.C. § 1395w-26(b)(3) but chose not

 to do so. By saying “any State law or regulation” instead of “State law,” Congress meant something

 different. 42 U.S.C. § 1395w-26(b)(3); see Scalia & Garner, supra, at 170 (“A material variation

 in terms suggests a variation in meaning.”). Specifically, Congress meant to implicate positive

 legislative enactments—state statutes or regulations—not common law. See Rodriguez v. United

 States, 480 U.S. 522, 525 (1987) (“Where Congress includes particular language in one section of

 a statute but omits it in another section of the same Act, it is generally presumed that Congress

 acts intentionally and purposely in the disparate inclusion or exclusion.” (brackets and citation

 omitted)); see also Sprietsma, 537 U.S. at 63.

        Ignoring this Supreme Court precedent and the statute’s text, Humana cites non-binding,

 out-of-circuit cases for the proposition that common law claims are included in the Medicare Act’s

 preemption provision. MTD at 20-23. Humana also claims that the preemption at issue is both

 express (from the language of the statute itself) and implied (in the form of “field preemption”).

 Id. But as the Sixth Circuit recently recognized, those two forms of preemption are distinct. In In

 re Ford Motor Company F-150 and Ranger Truck Fuel Economy Mktg. and Sales Pract. Litig.,

 65 F. 4th 851 (6th Cir. 2023), state law claims can be preempted either expressly or impliedly. Id.

 at 859. There is a difference between the two. “Through an express preemption clause, Congress

 may make clear ‘that it is displacing or prohibiting the enactment of state legislation in a particular

 area.’” Id. (quoting Matthews v. Centrus Energy Corp., 15 F. 4th 714, 720 (6th Cir. 2021) (emphasis

 added)). Field preemption, on the other hand, is a form of implied preemption that “occurs where

 a scheme of federal regulation is so pervasive as to make reasonable the inference that Congress



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 left no room for the States to supplement it.” Id. (citations omitted).

        The Sixth Circuit has never held that the Medicare Act preempts state common law claims,

 nor applied field preemption in the way Humana encourages this Court to do. Notably, Humana

 cites no Sixth Circuit cases at all, instead citing cases from the Ninth and Tenth Circuits.

        The Eighth Circuit’s reasoning in Pharm. Care Mgmt. Ass’n v. Wehbi, 18 F.4th 956, 971

 (8th Cir. 2021) provides the better, narrower approach. In Wehbi, the Eighth Circuit took a limited

 view of Medicare preemption and held that 42 U.S.C. § 1395w-26(b)(3) “does not preempt all

 state laws as applied to Medicare Part [C],” just “those that occupy the same ‘place’—that is, that

 regulate the same subject matter as—federal Medicare Part [C] standards.” Pharm. Care Mgmt.

 Ass’n v. Wehbi, 18 F.4th 956, 971 (8th Cir. 2021). 2 A “standard . . . is a [Medicare Part C] statutory

 provision or a regulation promulgated under [Medicare Part C] and published in the Code of

 Federal Regulations.” Id. In other words, express preemption of a state law occurs when “(1)

 Congress or [CMS] has established ‘standards’ in the area regulated by the state law; and (2) the

 state law acts ‘with respect to’ those standards.” Pharm. Care Mgmt. Ass’n v. Rutledge, 891 F.3d

 1109, 1113 (8th Cir. 2018), rev’d on other grounds, 592 U.S. 80 (2020) (quoting 42 U.S.C. §

 1395w-26(b)(3)); see Wehbi, 28 F.4th at 971. Additionally, the Eighth Circuit has recognized

 implied preemption where a state law would “otherwise frustrate the purpose of a federal Medicare

 Part [C] standard.” Wehbi. at 972.

        The Eighth Circuit recognized the preemption provision as containing limitations—

 including only applying when federal standards “supersede” state law. Id. at 971 (noting that the




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   Although Wehbi dealt with Medicare Part D, not Part C, it still controls this Court’s analysis
 because Medicare Part D’s preemption provision is identical. See Wehbi¸18 F.4th at 971 (noting
 that Congress extended the express preemption provision applicable to Medicare Part C in 42
 U.S.C. § 1395w-26(b)(3) to Medicare Part D in 42 U.S.C. § 1395w-112(g)).

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 amendment revising preemption is titled “Avoiding duplicative State regulation”). Though the

 classifies the preemption provision as applying field preemption, Eighth Circuit takes a narrow

 approach in determining what the relevant “field” is. Id. The Wehbi court drew narrow distinctions

 between the scope of Medicare standards and state statutory standards. 18 F.4th at 972–76

 (holding that a state law controlling which conditions a PBM must place on pharmacies’

 participation in its network was not preempted by a Medicare standard governing which conditions

 a PBM may not place on pharmacies’ participation in its network because the statute did not “claim

 this area for federal control”). The Wehbi court also held that when Medicare standards use “highly

 general language,” it indicates “an intent to leave to the states the specifics of what plans . . . may

 or may not” do. Id. at 973.

        The most recent CMS Medicare Manual supports this conclusion. There, the agency writes

 that “generally applicable standards[] that are not specific to health plans are not preempted” by

 the Medicare Act. Medicare Managed Care Manual: Chapter 10 - MA Organization Compliance

 with State Law and Preemption by Federal Law, https://www.cms.gov/regulations-and-

 guidance/guidance/manuals/downloads/mc86c10.pdf (emphasis added). And the few cases that

 have been decided in the Sixth Circuit have similarly concluded that the Medicare Act does not

 preempt state law where that state law is not inconsistent with Medicare. See, e.g., Downhour v.

 Somani, 85 F.3d 261, 265–66 (6th Cir. 1996)) (“Medicare does not completely preempt state law

 where billing for medical services is concerned.”); Greenbaum v. Clarksville Health Sys., G.P.,

 No. 3:21-CV-00030, 2021 WL 1816901, at *5–6 (M.D. Tenn. May 6, 2021) (holding “the

 Medicare program does not completely preempt state tort law claims.”).

                    2. Plaintiffs’ Statutory Claims Are Not Preempted Because They Do Not
                       Arise Under the Medicare Act

        Plaintiffs’ common-law claims are not preempted because the Medicare Act’s express


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 preemption provision is inapplicable to state common law. In addition, Plaintiffs’ statutory claims

 are not preempted because, as set forth above, those claims do not “arise under” the Medicare Act.

 See Day, 23 F.3d at 1059; see also Harvey v. Colvin, No. 1:13-CV-01957, 2015 WL 4078223, at

 *7 (D.D.C. July 1, 2015) (federal lawsuit requesting new determination of whether an award of

 benefits is warranted is “collateral to a substantive claim for benefits”).

        Nor do Plaintiffs’ state statutory claims regulate the same subject matter as the Medicare

 standards cited by Defendant. Those statutes do not, for example, regulate “basic pre-admission

 and post-admission requirements” (42 C.F.R. § 409.30) or “examples of what qualifies as skilled

 nursing services” (42 C.F.R. § 409.33). MTD at 24. Again, Plaintiffs’ claims are not that “Humana

 wrongly denied Medicare Benefits for post-acute care.” Id.; see supra note 1. Plaintiffs’ statutory

 claims also are not based on Defendants’ failure to establish written policies and procedures that

 allow for individual medical necessity determinations. Contrary to Defendants’ characterization

 (MTD at 24), section § 422.122(a)(6)(ii) has nothing to do with regulating “how MAOs can make

 coverage determinations using utilization management policies and procedures.” Instead, it

 provides:

    (a) Rules for Coordinated Care Plans. An MA Organization that offers and MA coordinated
        care plan may specify the networks of providers from whom enrollees may obtain
        services if the MA organization ensures that all covered services, including supplemental
        services contracted for by (or on behalf of) the Medicare enrollee, are available and
        accessible under the plan. To accomplish this, the MA organization must meet the
        following requirements:

        ***

        (6) Written standards. Establish written standards for the following:

        ***

        (ii) Policies and procedures (coverage rules, practice guidelines, payment policies, and
        utilization management) that allow for individual medical necessity determinations.



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 42 C.F.R. § 422(a)(6)(ii). Similarly, 42 C.F.R. § 422.137 requires an MAO that “uses utilization

 management (UM) policies and procedures, including prior authorization (PA), must establish a

 UM committee that is led by a plan’s medical director (described in §422.562(a)(4)).” Plaintiffs

 do not allege Defendants failed to establish a UM committee, and the state statutes do not set forth

 standards relating to the establishment of an MAO’s UM committee. In short, the state statutes in

 question do not regulate or even address the Medicare standards with which Defendants claim they

 “interfere” and the Court need not “second guess” Humana’s administration of these standards

 which are irrelevant to Plaintiffs’ actual claims.

           The cases cited by Defendants are once again distinguishable. Hepstall and Alston involved

 common law claims, which for the reasons set forth above are not preempted. The plaintiff in

 Snyder v. Prompt Medical Transportation, Inc., 131 N.E.3d 640 (Ind. Ct. App. 2019) alleged the

 decedent’s injuries and death “were a direct and proximate result of the carelessness and

 negligence of Humana.” Id. at 653. In short, the case involved a coverage determination itself, not

 the process for making the coverage determination. As set forth at length above, and unlike Snyder,

 Plaintiffs here challenge Defendants’ process for making coverage determinations and, contrary

 to Defendants’ contention, do not allege “that the MAO wrongfully denied Medicare Benefits.”

 MTD at 25. Thus, Plaintiffs’ statutory claims are not preempted.

     IV.      CONCLUSION

           For the reasons stated above, Plaintiffs request that this Court deny Humana’s motion in

 its entirety.



 Dated: June 27, 2024




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                                            Respectfully Submitted


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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on June 27, 2024, the foregoing was electronically filed with Court of

 Clerk using the CM/ECF system, which will automatically serve all parties through their counsel

 of record in accordance with Fed. R. Civ. P. 5(b)(2)(E).


                                                              /s/ John C. Whitfield, Esq.
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